 

Case 1:19-cr-00077-JB Document1 Filed 12/19/18 Page 1 of 4

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of New Mexico iv Ih ED

UNITED STATES DISTRICT COURT

 

 

 

 

United States of America ) ALBUQUERQUE, NEW MEXICO
V. )
) Case No. _ DEC 1 9 2018
Michael Nissen ) | YY
Year of Birth: 1965 ) ¢ ‘r) V5
SSAN: 3899 )
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 12/19/2018 in the county of Bernalillo in the
District of New Mexico , the defendant(s) violated:
Code Section Offense Description
18: 875(c) Interstate Communication

This criminal complaint is based on these facts:

 

aw Continued on the attached sheet.
es oe

. , . —— —
Complainant’s signature

"Yeree Nenercupe Peete AGensT

Printed name and title
Sworn to before me and signed in my presence. Zo
Date: 12/19/2018 SK Abt E

udge 's signature,
City and state: Albuquerque, New Mexico SS on C- LZ Op brie g Lo

Prinied name and title

U.S. MAGISTRATE JUDGE

 

 
 

Case 1:19-cr-00077-JB Document1 Filed 12/19/18 Page 2 of 4

AFFIDAVIT OF Peter Jon Nystrom Ubbelohde

Your Affiant, Peter Jon Nystrom Ubbelohde, having been first duly sworn, does hereby
depose and state as follows:
l. Iam a Special Agent of the Federal Bureau of Investigation (FBI) and have been employed
in this capacity since June 2015. I am currently assigned to the Albuquerque Division of the FBI,
Counter Terrorism Program, with a primary duty to investigate individuals involved in domestic
terrorism. I have participated in multiple domestic terrorism investigations, including those related
to acts of violence. The information set forth in this affidavit has been derived from my own
investigation or communicated to me by other sworn law enforcement officers or from reliable
SOUICES.
2. This affidavit will show there is probable cause in support of a criminal complaint against
Michael Nissen (Nissen) for two counts of making threating interstate communications contrary
to 18 USC § 875(c). As detailed below, the first such communication occurred on November 2,
2018, and the second on November 26, 2018.
3. The statements contained in this affidavit are based upon your Affiant’s investigation,
training and experience and information provided by other law enforcement officers. Because this
affidavit is being submitted for the limited purpose of securing a criminal complaint and arrest
warrant, your Affiant has not included each and every fact known to your Affiant concerning this
investigation. Your Affiant has set forth only the facts which your Affiant believes are necessary
to establish probable cause to support a criminal complaint and arrest warrant against Michael
Nissen, in violation of 18 USC § 875.
4. 18 USC § 875 prohibits transmitting in interstate communication any threat to injure the
person of another.

FACTS

5. On November 2, 2018, at approximately 5:45 p.m. New Mexico State Police (NMSP)

Officer Burd pulled over Nissen on Interstate 40 in Torrance County near mile marker 194 and

 

 
Case 1:19-cr-00077-JB Document1 Filed 12/19/18 Page 3 of 4

issued him multiple citations.

6. On November 2, 2018, starting at 6:18 p.m., NMSP dispatch received multiple phone calls
from telephone number 505-819-1806 and caller ID listing Michael Nissen. The male caller
referenced a NMSP officer that just pulled him over and issues him citations. During the calls the
caller made the following statements, “You guys got some of the stupidest fucking pigs on the
road. The next time someone violates me like that on the road, I’m gonna put a bullet in that
fucking pig’s head.” and, “He violated my 4" amendment constitution, he violated my 2™ and my
1‘tamendment and the next time he does it I’m gonna plea the 5", but next time I’m gonna take
my revolver out and put that mother fucker drop dead...” The caller also made multiple statements
regarding the NMSP’s lack of understanding of the law.

7, In November, 2018, NMSP Internal Affairs received a complaint via telephone from
Nissen regarding the NMSP officer who pulled him over and issued him citations. On November
26, 2018 NMSP Internal Affairs received an email from email address
‘“johnny2bravol@gmail.com” about a violation of their rights. The email contained carrier
information that it was sent from a T-Mobile 4G LTE device.

8. On November 26, 2018, NMSP District 5 administrative assistant received a call from
phone number 505-819-1806. During the call, the male caller became verbally combative and
threatened to shoot the NMSP employee in the head.

9. On December 13, 2018, Nissen spoke with Bernalillo County Sheriff's Deputies at their
office to complain about the NMSP. During their interview, Nissen had his mobile phone present
and told deputies his phone number was 505-819-1806 and he lives at “1025 Walker.” That address
is located in Bernalillo County, New Mexico. Nissen said he doesn’t own a computer and does all
his emailing and internet research from his mobile phone. Nissen said his email address is
“johnny2bravol @gmail.com.” Nissen stated he was pulled over by NMSP near mile marker 194
and given multiple citations. Nissen said after the traffic stop he called the NMSP to “just get it
done and then it got a little crazy” and, “I didn’t make no threatening calls, but I kept calling them

about the law.” Nissen said he owned multiple firearms including rifles and a revolver. Nissen says

 
Case 1:19-cr-00077-JB Document1 Filed 12/19/18 Page 4 of 4

he carries his revolver on the streets and carrying his gun concealed is to protect himself from
rouge state cops. Nissen said he called NMSP Internal Affairs to make a complaint against the
state police.

10. On December 10, 2018 the Torrance County administrative email account received two
emails from Nissen. The emails contained photos of documents. The EXIF data of these photos
recorded they were taken on December 8, 2018 by a SM-N920T (a Samsung Galaxy Note 5, T-
Mobile). Samsung does not manufacture phones in New Mexico.

11. T-Mobile uses a cellular network on a GSM carrier with equipment physically located
throughout the country. T-Mobile is headquartered in Bellevue, Washington. Based on my training
and experience, even when individuals are physically located in the same state, it is common for
their cellular phone communications to cross state lines based on the cellular provider’s

communication infrastructure and network efficiency.

12. Based on the aforementioned facts, there is probable cause to believe that Michael Nissen,
committed the November 2 and 26, 2018, phone calls containing threats of violence, in violation

of 18 USC § 875.

I swear that this information is true and correct to the best of my knowledge, information and
belief.

Respectfully submitted,

j /
TZ —_

eter Joy Nystrom Ubbelohde
ral Agent

Federal Bureau of Investigation

 

 

Subscribed to and sworn to
before me, this 2th day of December, 201

U.S, MAGTRATE JU

ALBUQUERQUE, NEW MEXICO

 

 
